UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

: 22md3043 (DLC)
IN RE: Acetaminophen -— ASD-ADHD : 22mc3043 (DLC)
Products Liability Litigation :

ORDER: DIRECT
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DENISE COTE, District Judge:

fo eliminate delays associated with the transfer to this
Court of cases filed in or removed to other federal district
courts and to promote judicial efficiency, it is hereby

ORDERED:

1. This Order applies only to personal injury claims
brought by United States residents and filed directly in the MDL.

2. Any plaintiff whose case would be subject to transfer
to this MDL may directly file his or her complaint against any
or all defendants in the United States District Court for the
Southern District of New York as related to the MDL.

3. Any complaint that is filed directly in the Southern
District of New York pursuant to this Order shall be deemed
directly filed in the MDL and filed as a new civil action in the
Court's electronic filing system. At the time of filing, the

complaint shall bear the caption set forth in Paragraph 4(c) of

this Order and be accompanied by a civil cover sheet and summons.

The civil cover sheet shall be completed in accordance with the

instructions set forth therein. The filing party shall use the

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origin code 8 on the civil cover sheet. The Clerk of Court is
directed to assign the action to the MDL Judge’s docket. After
review by the Clerk of Court’s office, the case will be
automatically consolidated for pretrial purposes in the MDL and
listed as a Member Case. If counsel have any questions
regarding opening a civil case, contact the Civil Case Openings
unit of the Southern District of New York at 212-805-0632 or
case openings@nysd.uscourts.gov.

4, The process for direct filing will be as follows:

a. Attorneys who are subject to the Local Rules of
this District must file the complaint in accordance with the
Local Rules. Attorneys who are not admitted to practice in the
United States District Court for the Southern District of New
York shall seek admission prior to the direct filing of the
cases in accordance with this Court’s October 419, 2022 Order:
Attorney Admissions.

b. All plaintiffs directly filing in the MDL are
required to pay the standard New Action Filing Fee to initiate
the case.

c. Any complaint that is directly filed in the MDL

shall bear following caption:

 
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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IN RE: Acetaminophen — ASD-ADHD
Products Liability Litigation
: DIRECT FILED COMPLAINT [&
This Document Relates To: : JURY DEMAND] PURSUANT TO
: ORDER: DIRECT FILING

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Plaintiff/s, : CIVIL ACTION NO.

 

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Defendant/s. :
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d. Fach case filed directly in the MDL that emanates

from a district outside the Southern District of New York will
be filed in the MDL for pretrial proceedings only, consistent
with the Judicial Panel on Multidistrict Litigation’s October 5,
2022 Transfer Order.
e. Any complaint directly filed pursuant to this
Order shall plead the federal district in which each plaintiff
resides.
£. Any complaint directly filed pursuant to this
Order shall plead the following in the leading paragraph of the
complaint:
This Complaint is filed pursuant to Order: Direct
Filing. Plaintiff/s hereby designate/s the United

States District Court for the
as plaintiff/s’ home

 
venue (“Home Venue”), as this case may have originally
been filed there because

4 Plaintiff/s currently reside/s in (city),
(state);

Oo The APAP product/s plaintiff-mother took while
pregnant with plaintiff-minor were purchased and/or

used in (city), (state);

CI Plaintiff-minor was born in (city),
(state) ;

OJ A substantial part of other events or omissions

giving rise to the claims occurred there, to wit:

 

O At least defendant is a resident of
the district and all defendants are residents of the
State in which that district is located.

g. Upon completion of all pretrial proceedings
applicable to a case directly filed in this Court, pursuant to 28
U.S.C. § 1404(a), if the Court determines that transfer of a
given case is warranted, the Court will transfer each such case
to the identified Home Venue unless that designation is subject
to challenge, pursuant to Paragraph 4(i) of this Order, or to
another district which the parties to the action jointly request
that the case be transferred.

h. Plaintiffs, through Co-Lead Counsel, and
defendants in the applicable Member Case shall have fourteen
(14) days from the date the action is listed as a Member Case,

pursuant to Paragraph 3, supra, to confer and object by letter

motion to the inclusion of the case in the MDL. The party in

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favor of inclusion in the MDL shall then have three (3) days to
file a response to any such objection. Failure to object as set
forth herein shall constitute a waiver of any objection to
inclusion of the case in the MDL for pretrial proceedings.

a. Piaintiffs, through Co-Lead Counsel, and
defendants shall have fourteen (14) days from the date the
action is listed as a Member Case to object to a plaintiff's
designation of Home Venue in any directly filed complaint.
Objections regarding a plaintiff’s designated Home Venue may be
raised by letter motion at any time thereafter upon a showing of
good cause, but no later than the deadline for the conclusion of
fact discovery in the individual directly filed action.

i. With the exception of complaints that include
plaintiffs who are immediate family members or who solely assert
derivative claims, no multi-plaintiff complaints may be directly
Filed in the MDL. To the extent any case already filed in or
transferred to this MDL asserts claims on behalf of muitiple
plaintiffs who are not immediate family members or who solely
assert derivative claims, the parties shail meet and confer
within fourteen (14) days of entry of this Order to agree upon
the voluntary dismissal and refiling of any such multi-plaintiff£
complaints as individual and distinct actions.

5. Nothing contained in this Order shall preclude the

parties from agreeing, at a future date, to try cases filed

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pursuant to this Order in the Southern District of New York.

6. All defendants currently before this Court as of the
date of this Order have agreed that they will not assert any
objection of improper venue pursuant to Fed. R. Civ. B. 12(b) as
to any Member Case filed directly in the Southern District of New
York where the plaintiff has designated in the complaint another
district as the plaintiff’s Home Venue unless and until the
Court determines that the Member Case is ready for transfer.

7. Any choice of law determination in a directly filed
action will treat that action as if it had been originally filed
in the Home Venue. This Court, as a multidistrict litigation
transferee court, will apply the substantive state law,
including choice-of-law rules, of the jurisdiction of the Home
Venue.

8. The direct filing of a case in the MDL shall not
constitute a determination by this Court that venue is proper in
this district, nor a waiver of personal jurisdiction or service
by any named defendant. Nor shall the filing of an action
directly in the MDL constitute, for any party, a waiver pursuant
to Lexecon, Inc. v. Milberg Weiss Bershad Hynes & lLerach, 523
U.S. 26 (1998). The Court understands that defendants expressly

reserve all rights pursuant to Lexecon.
9. The filing of a complaint directly in the MDL pursuant

to this Order shall stop the running of any statute of

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limitations or prescriptive or preemptive period as if the
complaint had been filed in an appropriate venue.

10. Defendants reserve all rights to move to dismiss any
directly filed individual complaint under Rule 12 or Rule 9,
consistent with a schedule to be entered by the Court.

11. The references to “defendants” herein shall not
constitute an appearance by or for any defendant not yet named in
the MDL and/or not properly served.

Dated: New York, New York
December 2, 2022

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DENISE COTE
United States District Judge
